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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

SUANI NIEZELSKI

v.                                                       CASE NO. 3:15 cv 829 (AWT)

TSG COLLECTIONS, LLC
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                                         NOTICE OF DISMISSAL

         Pursuant to Rule 4l(a)(l), plaintiff hereby dismisses the within action, with prejudice

and without costs or fees based on the parties’ settlement agreement.

                                                                  THE PLAINTIFF




                                                                  BY_____/s/ Joanne S. Faulkner__
                                                                  JOANNE S. FAULKNER ct04137
                                                                  123 Avon Street
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                                                                  (203) 772-0395


         Certificate of Service

          I hereby certify that on July 28, 2015, a copy of foregoing Notice of Dismissal was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system. Parties may access this filing through the Court’s system.




                                                                  ____/s/ Joanne S. Faulkner___
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